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            IN THE UNITED STATES DISTRICT COURT
                FOR THE District of Columbia
                   Washington DC DIVISION
LOKESH VUYYURU, M.D.,                   )
                                        )
v.                                      ) Civil Action No.
                                        )
Y.S. Jagan Mohan Reddy                  )
and                                     )         Case: 1:22−cv−01453 JURY DEMAND
Narendra Damodar Modi                   )         Assigned To : Kelly, Timothy J.
                                                  Assign. Date : 5/24/2022
And                                     )         Description: Pro Se Gen. Civ. (F−DECK)
Gowtham Adani                           )
and                                     )
Klaus Schwab                            )
and                                     )
Mr. Dwivedi,                            )
In his official capacity acting         )
CEO, AP Election Commission             )
and                                     )
Mr. Sunil Arora                         )
In official capacity as acting          )
Election Commissioner of India,         )
and                                     )
K. Vijay Sai Reddy,                     )
and                                     )
Sajjala Ramakrishna Reddy               )
And                                     )
Mr. Lavasa                              )
In official capacity as acting          )
Deputy Election Commissioner            )
of India                                )
And                                     )
Mr. Rajat Kumar,                        )
in his official capacity as             )
CEO of Telangana Elections -            )
commission                              )
and                                     )
JOHN DOE DEFENDANTS 1 TO 5              )




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              RICO case defendant’s addresses

   1. YS Jagan reddy
Building #1
First floor
AP secretariat,
Velagapudi, Andhra Pradesh
India
   2. Narendra Modi,
      7, Lok Kalyan Mark,
      New Delhi 110011
      India

   3. Gowtham Adani
      Adani Corporate House
      Shantigram, Near Vaishnodevi
      Circle, SG Highway,
      Ahemdabad – 382421
      Gujarat, India
   4. Klaus Schwab
      82131, Gauting, Bayern,
      Germany
   5. Sajjala Rama Krishna reddy
      Building #1
      First floor
      AP secretariat,
      Velagapudi, Andhra Pradesh
      India
   6. Vijay Sai reddy
      Building #1
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   First floor
   AP secretariat,
   Velagapudi, Andhra Pradesh
   India
7. Dwivedi, IAS
   AP secretariat,
   Velagapudi, AP state
   India
8. Rajit Kumar, IAS
   Megha Engineering company,
   Hyderabad, Telangana
   India
9. Sunil Aurora,
   Election commission of India
   New Delhi 111011
   India
10.Lavasa,
   Election commission of India,
   New Delhi 111011
   India
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                           FIRST COMPLAINT

Basis and Foundation

“Fighting global corruption is part of the fabric of the

Department of Justice.”

“Criminal conspiracies that extend beyond our borders are not

beyond our reach,” said U.S. Attorney Fardon. “We will use all

of the tools and resources available to us to ensure the

integrity of global business transactions that involve U.S.

commerce.” When dept of Justice didn’t act victims like

Plaintiff brought this action.


    COMES NOW your plaintiffs, DR. LOKESH VUYURRU, M.D., files

this RICO Complaint against YS Jagan Mohan Reddy(Jagan reddy’s

criminal syndicate),    both Personally as well as Chief Minister

of AP state, India, Narendra Damodar Modi(Narendra Modi’s

Criminal syndicate) both personally as well as Prime Minister of

India, Gowtham Adani(Modi’s Criminal Syndicate) both personally

and as chairman of Adani companies of India, Klaus Schwab(co-

conspirator with Modi’s and Jagan reddy’s criminal syndicate)

both personally and as an Executive Chairman of World Economic

Forum, Sajjala Rama Krishna Reddy(Jagan reddy’s criminal

syndicate) a de facto chief minister of Andhra Pradesh, India,

Mr. Dwivedi(Modi’s criminal syndicate), In his official capacity

as acted CEO, AP Election Commission, Mr. Sunil Arora(Modi’s


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criminal syndicate), In official capacity as acted Election

Commissioner of India, K. Vijay Sai Reddy(jagan reddy’s criminal

syndicate) both personally as well as brokered the deals and

distributing of bribes to various Politicians and officials in

Delhi, Mr. Lavasa(Modi’s criminal syndicate), In his official

capacity as Deputy Election Commissioner of India, Mr. Rajat

Kumar(Modi’s criminal syndicate), in his official capacity as

CEO of Telangana Elections Commission and JOHN DOE DEFENDANTS 1

TO 5(Modi’s criminal syndicate) and in support thereof, states

as follows:

                       JURISDICTION AND VENUE


    1.   This court has subject matter jurisdiction over

certain claims herein pursuant to 18 U.S.C. § 1964, 28 U.S.C. §

1331 because they arise under the laws of the United States, and

over other claims herein pursuant to supplemental and Diversity

jurisdiction under 28 U.S.C. § 1367 and 28 U.S.C. § 1332.             This

Court has personal jurisdiction over the Defendants pursuant to

18 U.S.C. §§ 1965(b) and (d).

    2.   Venue is proper in this judicial district pursuant to

28 U.S.C. § 1391(b) and 18 U.S.C. § 1965.




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                                PARTIES

     3.   Defendant Jagan reddy is the chief minister of Andhra

Pradesh. YS Jagan Mohan Reddy created “Jagan reddy’s criminal

syndicate” along with Vijaya Sai reddy, Sajjala Ramakrishna

reddy, both personally as well as abusing the powers of Chief

Minister of AP state, India. Collectively calling these

defendants as Jagan reddy’s criminal syndicate.

     4.   Defendant Narendra Damodar Modi is the Prime Minister

of India. Narendra Modi, Defendant Gowtham Adani, Dwivedi, Sunil

Aurora, and Lavasa collectively calling Narendra Modi’s Criminal

syndicate.

     5.   Defendant Gowtham Adani is a business man of India and

a close confidant to both Modi and Jagan reddy. Adani is part of

Modi’s Criminal Syndicate conduct business as both personally

and as chairman of Adani companies of India.

     6.      Defendant Prof. Klaus Schwab is the founder and

Chairman of the World Economic forum. Dr. Schwab is the co-

conspirator with Modi’s and Jagan reddy’s criminal syndicate

acting both personally and as an Executive Chairman of World

Economic Forum.

     7.   Defendant Sajjala Ramakrishna Reddy is the de-facto

chief minister of Andhra Pradesh, India. He committed every

crime in the text book as part of Jagan reddy’s criminal

syndicate.

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    8.    Mr. Dwivedi was Election commissioner of AP state in

2019 elections. He committed crimes by adding fake votes of

nearly 50 Lakh into AP state vote bank. He is part of Modi’s

criminal syndicate in hijacking Indian elections. He acted in

his official capacity as acted CEO, AP Election Commission.

    9.    Defendant Mr. Sunil Arora is the Chief Election

commissioner during 2018 to 2019 Indian elections. He acted in

official capacity as acted Election Commissioner of India to

promote crimes during Indian elections from removal of votes to

adding illegal votes and tempering of Electronic Voting Machines

to hijack India’s elections to favor Modi’s criminal syndicate.

    10.   Defendant K. Vijay Sai Reddy was sentenced to the jail

for 16 months along with Jagan reddy in colluding with defendant

jagan reddy. He is the main person in brokering the deals and

distribution of bribes to various Politicians and officials in

Delhi to help and run jagan reddy’s criminal syndicate both

personally as professionally.

    11.   Defendant Mr. Lavasa is the deputy election

commissioner of India during 2018 to 2019 elections. In his

official capacity as Deputy Election of India he acted along

with defendant Sunil Aurora various crimes in removal of votes

and adding votes along with electronic voting machines tampering

calling the EVM machines further on to hijack India’s elections

for Modi’s criminal syndicate.

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    12.   Defendant Mr. Rajat Kumar was the chief Election

commissioner of Telangana State. Defendant acted along with

defendant Sunil Aurora various crimes in removal of votes and

adding votes along with electronic voting machines tampering in

his official capacity as CEO of Telangana Elections Commission

to help Modi’s criminal syndicate.

    13.   Defendants JOHN DOE 1 TO 5 are participants of most

horrific crimes committed in US to facilitate using their power

in US government. These defendants got bribes and favors in

return from Modi’s criminal syndicate.




          SUMMARY STATEMENT OF FACTS COMMON TO ALL COUNTS



    14.   DR. LOKESH VUYURRU is a renowned specialist in

Gastroenterology, Philanthropist, publisher, Business man and

social activist in India.     Dr. Vuyyuru was board certified with

the American Board of Internal Medicine and Gastroenterology.

Dr. Vuyyuru has practiced under fellowships with the National

Institute of Health at VCU.     DR. VUYURRU has received numerous

awards including two Glaxo Smith Kline impact awards for his

work in the field of gastroenterology.       Dr. Vuyyuru has also

invented surgical instruments and procedures in his field.

Dr. Vuyyuru received numerous awards from NAACP. Dr. Lokesh

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Vuyyuru is also a consultant in the field of Health care and

management. Dr. Vuyyuru had a thriving and lucrative medical

practice in India, including Founder of Asian Hospitals.

    15.   Virginia Times, Inc. is a News Paper established by

Dr. Vuyyuru in June 2004 and became an Editor as well as Editor

for the Magazine “Dolus.” Dr. Vuyyuru is also a publisher of

social media platform and editor for “Bharata Desam mainly

serves on Indian Platform.” Virginia Times newspaper and Dolus

Magazine serving India and USA. Dr. Vuyyuru’s newspaper and

Dolus Magazine published both hard copies as well digitally a

series of articles from 2005 to 2022 alleging and reporting on

various frauds both related to national and international issues

focused on Indian Government.

    16.   In India established “eSolvers and Dharma Health

Corporation (Dharma Health Care Services) established an office

in India in 2004 to 2020 and a hospital and a clinic from 2014

to 2019 for various IT (information Technology), Medical

research projects and Patient care centers in Hyderabad. From

2004 to the present Dr. Vuyyuru’s social Platform “Bharata

Desam” personally conducting investigative journalism the

“corruption in the government of India and Andhra Pradesh from

2004 to the present.” Dr. Vuyyuru personally presented in

various Television Channels and published large number of

stories in various newspapers and social media.” Dr. Vuyyuru

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come across the various corruption practices and evil abuses of

Rajasekhar reddy, Sonia Gandhi’s cronies, Narendra Modi, Gowtham

Adani, Jagan Mohan reddy and his cronies from 2004 to the

Present.”

     17.    Defendant Jagan Mohan reddy is the son of “Fugitive

Rajasekhara reddy’ was not captured by the FBI and died in 2010

in a Helicopter crash in India. Defendant Jagan reddy is a known

criminal under various crimes and fraudulent activities arrested

by the Central Bureau of Investigation (CBI) in May, 2012 and

placed him in the state prison for 16 months released from

Prison September, 2013. Jagan reddy is on Bail since 24th

September, 2013 and facing Total of 31 cases from various

criminal cases, corruption cases and multiple other cases.

Rajasekhar reddy and his father Raja reddy are known factionists

and killers for political gain and money created the reign of

terror with fear in common man all over the state of Andhra

Pradesh with thousands of murders over span of 25 years.

     18.    Raja reddy the grandfather of the defendant Jagan

reddy from Pulivendula of Kadapa district, AP state of southern

India killed numerous innocent people for money called them

supari deaths. Ultimately this criminal Raja reddy got killed by

one of the victim’s family members.

     19.    Rajasekhar reddy is defendant’s father is a notorious

murderer and highly corrupt criminal in merciless killings of

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innocent people by creating riots in the city of Hyderabad in

India. In this particular religious riot various estimates, a

whopping 210 innocent men, women and children got murdered and

gang raped women sleeping in the houses.

    20.   ” Defendant Jagan reddy’s father Rajasekhara reddy got

indictment in the case 13 CR 515 in the Northern US District

court of Illinois, Chicago under foreign corrupt practices act.

    21.   Defendant Jagan reddy is one of the ultimate

benefactors from Rajasekhara reddy’s corruption including some

of the alleged $10.5 million dollars bribe in the case of 13 CR

515 in the US court.

    22.   Defendant Jagan reddy and fugitive Rajasekhara reddy’s

corruption tentacles extended into the United States from 2004

to 2010 under Quid pro quo with favors in India and payments in

various countries from USA to a total of 23 countries under

Defendant “Jagan reddy’s aliases names bank accounts,

investments in all these 23 countries.” The victim is United

states treasury and commerce with these Jagan reddy’s corrupt

criminal practices.

    23.   Defendant Jagan reddy amassed Billions and Billions of

dollars and other currencies without lifting a finger just in

five years from 2004 to 2010 through rampant corruption deals,

hawala money transactions in various countries, smuggling gold

from Dubai to India.

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    24.   Defendant Jagan reddy established criminal network

with international gangsters like “Dawood Ibrahim” and

Bangladesh Mujahedeen with an operation center in Dubai for

moving various currencies.

    25.   Defendant jagan reddy like his father Rajasekhara

reddy and Grandfather Raja reddy went on killer spree in the

state of Andhra Pradesh including kidnappings and raping women.

    26.   In 2014 Defendant Jagan reddy catching the eye of the

other defendant “Narendra Modi the Prime Minister of India” and

got recruited into the Modi’s gang in 2017. This is the turning

point in India’s crime syndicate and looting by Modi’s cronies.

    27.   To loot India Modi’s perfect partner in crime is Jagan

reddy to be placed as chief minister of Andhra Pradesh. Modi’s

RSS operatives into the action to Tamper EVM machines in May,

2019 elections and hijacked India’s democracy.

    28.   Narendra Modi Government’s Pegasus & Chrysaor Spyware

systems are in full usage implemented by Jagan reddy through “TV

Sashidar reddy an Intelligence OSD of AP intelligence and

advisor to Jagan reddy since 2019.

    29.   “Pegasus & Chrysaor” in the hijacking Indian elections

by Modi’s RSS clandestine political wing to safeguard their

looting of India’s wealth, corruption & criminal activities.”




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    30.   Narendra Modi’s Indian Government got licenses with

the “Pegasus cyber security systems from NSO belongs Israel’s

cyber security warfare division for a hefty price.

    31.   Modi’s government given these Pegasus & Chrysaor

systems to the various states intelligence access where Muslim

Terrorism & Radical Naxalism is prevalent and one state that

received these Pegasus & Chrysaor is Telangana in 2014.

    32.   “Pegasus of Modi’s & jagan reddy’s government spyware

installed on devices running certain versions of iOS, Apple's

mobile operating system, as well as some Android devices. Rather

than being a specific exploit, Pegasus suite of exploited that

uses many vulnerabilities in the system. Infection vectors

include clicking links, the Photos app, the Apple Music app, and

iMessage. Some of the exploits Pegasus uses are zero-click—that

is, they can run without any interaction from the victim. Once

installed, Pegasus has been reported to be able to run arbitrary

code, extract contacts, call logs, messages, photos, web

browsing history, settings, as well as gather information from

apps including but not limited to communications apps.

    33.   In 2020, Modi’s & Jagan Reddy’s Pegasus shifted

towards zero-click exploits and network-based attacks and

allowed to break into target phones without requiring user

interaction and without leaving any detectable traces.



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    34.   TV Sashidar reddy in charge of “Telangana intelligence

got access to these Pegasus & Chrysaor spyware to monitor the

terrorists & Naxalites.

    35.    TV Sashidar reddy in contact with criminal background

Jagan reddy in 2014 disclosing the power of “most powerful

spyware weapon Pegasus & Chrysaor systems.

    36.    Colluded TV Sashidar reddy with the consent of

Narendra Modi’s political wing in 2014 started tapping every

opponent of Jagan reddy deceptively in both Telugu states and

news channels to family members.

    37.   Plaintiff came to know about an internal memo from “CM

camp office of KCR” about TV Sashidar Reddy’s illegal criminal

activities in Hyderabad.

    38.    TV Sashidar reddy caused enormous harm to all the

“Democratic Institutions of India including the judges of high

courts & Supreme Court to benefit Jagan reddy facing various

criminal charges.”

    39.   By 2017 Modi’s RSS clandestine political wing joined

hands with Jagan reddy’s criminal enterprise members to

    This deadly spyware “Pegasus & Chrysaor” in both Telugu

    states from “Political leaders and their family members,

    funding supporters, Publishers of Newspapers & TV channels,

    judges of High court & Supreme Court text messages,



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    WhatsApp phone calls, stealing the emails and private

    sharing data from the iPhones to android phones.

    40.      Modi’s RSS clandestine political wing & Jagan reddy

criminal enterprise joint “Pegasus & Chrysaor” literally

destroyed no privacy to most of their political opponents in

India.

    41.      The Pegasus & Chrysaor of Modi’s RSS clandestine

political wing & Jagan reddy’s criminal enterprise brought down

the most important democracy foundation “Judiciary through

blackmail.”

    42.      “Ranjan Gogoi’s cellphone got tampered and scandal

broke out his private life because of Pegasus & Chrysaor

spyware.” Gogoi was forced to rule the most important ruling

“Rosetta stone of corruption in Indian democracy the EVM

machines tampering with the special programming to hijack Indian

Elections in 2019 for Modi’s government & jagan reddy’s

landslide victory.”

    43.       As soon as 23rd May, 2019 Hijacked Indian elections

are Hijacked by Modi’s RSS clandestine political wing the real

hunting started on every “Opposition party in India make them to

thimble and pieces through this Pegasus & Chrysaor spyware.”

    44.      The Indian elections were hijacked with the help of

Sunil Aurora the Election commissioner of India, Dwivedi the

election commissioner of AP state and Rajit Kumar of Telangana

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Election commissioner under the control of Modi’s criminal

syndicate.

    45.   Through Pegasus & Chrysaor spyware cut the funding

routes & their contacts not only India but also abroad people

like Plaintiff subject to these phone tapings.

    46.   American Defense companies lost billions of dollars

contracts in India because “Rafael Fighter jets company of

France paid bribes to Modi’s criminal syndicate and it was under

investigation from News papers to international organizations.”

The blackmailed supreme court chief justice forced to give clean

chit to Modi’s criminal syndicate no illegal bribes paid.

    47.   The height of the criminal game “Narendra Modi’s RSS

clandestine political wing fully informed Jagan reddy‘s criminal

empire and the danger of Vivekanand reddy. This results Jagan

reddy criminal gang hacked Vivekanand reddy to bloody death with

informed consent from Modi’s RSS clandestine wing.

    48.      “Modi the mastermind of “RSS clandestine political

wing committed the abuse of Pegasus & Chrysaor spyware in

bringing down the democratic institutions of India through

blackmail, fraud, deceit, corruption, terror, EVM machines

tampering, looting India’s wealth and safeguarding criminal

enterprise of Jagan reddy.”

    49.   Modi’s and Jagan reddy’s crime syndicate established

just to loot Indian Government, AP state Government, Indian

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Banks, Financial institutions, Narcotics particularly Heroin

trade with Taliban’s with payments in Indian rupees, Cannabis

from AP state, adulterated Illegal Liquor black marketing,

Illegal Grabbing lands from innocent people and Government

Lands.

    50.      Modi and Jagan reddy’s crime syndicate caused enormous

harm in shutting down the “American business projects like

Amaravati the Capital of Andhra Pradesh” results in losses of

Billions of dollars.

    51.      Plaintiff gave the “Templates of futuristic city

Amaravati with the involvement of Architects, designers,

technical Industrial Engineering firms, Energy entities of

various US companies lost billions because refused to pay bribes

to Modi’s and Jagan reddy crime syndicate from 2019 to the

present.”

    52.      Plaintiff office near the Capital Amaravati shut down

in September, 2020 due to the Modi’s and Jagan reddy’s crime

syndicate and results in Millions of Dollars loss personally and

it is the ultimate loss to United States of America.

    53.      Plaintiff helped India during COVID-19 pandemic from

February 2020 to September 2021 on humanitarian basis. Due to

this Modi’s and Jagan reddy’s syndicate poor and Middle-class

people lost lives due to rampant corruption and looting of



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Pandemic resources. The total deaths in India due to this crime

syndicate is in staggering 4 to 5 million people.

    54.   Defendant Jagan reddy’s negligence and corruption

comment was “it is ok some million people die, so what?”

    55.   Defendant Jagan reddy refused to give vaccines because

of demanding bribes from Vaccine companies and other agencies

results in thousands of people died. This crime syndicate looted

funds and “adulterated the bleach and created most unhygienic

conditions in people’s deaths.”

    56.   Importing Heroin directly from Taliban through Iran

and cocaine from international drug mafia and locally grown

Cannabis by Modi’s and Jagan reddy’s criminal syndicate and

redistributing in the Indian schools and to African nations.

    57.   The looted money, Narcotics drug money, Hawala money

from Dawood Ibrahim getting invested in US markets, Europe and

comeback as investments in Gowtham Adani’s companies. Most of

these illegal investments in Adani’s companies are belong to

Narendra Modi’s and Jagan reddy’s corrupt money drenched with

Indians blood.

    58.   Gowtham Adani became world’s fifth richest man from

rags to riches with this horrific, corrupt, looted, narcotics,

adulterated liquor money from these crimes affecting US stock

markets and affecting the international companies are getting

acquired from this money.

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    59.   Modi’s and Jagan reddy’s criminal syndicate looting

the Uranium from the mines of AP state turning into black market

into the hands of most dangerous people like Iran and North

Korea making world is going to be the most unsafe place despite

“the economic sanctions by the US government on Iran and North

Korea.”

    60.   The real richest man in the world is Modi competing

with Putin. Modi is just implementing “Russia’s Putin oligarch’s

criminal enterprise system in India and it is India’s Oligarchic

criminal society looting every resource of India and siphoned

out off India.” Indian economy may collapse soon under these

criminal enterprises like Sri Lanka.

    61.   Now Modi’s and Jagan reddy’s criminal syndicate

focused to loot the world markets. That platform is world

economic summit through “Klaus Schwab” at Davos.

    62.   Davos and Klaus Schwab are going to help and access to

convert this dirty money to gold for this Modi’s and Jagan

reddy’s criminal syndicate.

    63.   John Doe 1 to 5 were Individuals and Organizations in

various powerful positions in America protected the Modi’s and

Jagan reddy’s crime syndicate crimes, illegal activities in

return received from bribes to favors in India.




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                               COUNT I
                           ABUSE OF PROCESS

    64.   Plaintiffs repeat and reallege the allegations

contained in foregoing paragraphs as though fully set forth

herein.

    65.   Defendant Jagan reddy in 2003-04 has a Yearly income

of mere $15,000 with assets of $50,000.

    66.   Defendant Jagan reddy’s assets and income shoot up to

one of the richest men in India within five years as soon as his

fugitive, criminal father assumed the office of AP state as

Chief Minister from 2004 to 2010.

    67.   Defendant Jagan reddy amassed foreign currencies

deposited in 23 countries roughly about Rs.56,000 crores

equaling to $720,000,000,000 in less than 5 years under the

radar of Dept of Justice in post-9/11 era.

    68.   Defendant Jagan reddy with another criminal Gali

Janardhan reddy looted India’s precious iron ore and illegally

exported to China from 2004 to 2010 received roughly another

$11.27 billion dollars and that money is also stashed all over

the South east Asia.




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    69.   Defendant Jagan reddy assets and investments in India

on top of these foreign bank accounts exceeds another $10

billion dollars.

    70.   Defendant Jagan reddy looted all this India’s wealth

under the nose of another corrupt politician Sonia Gandhi

promised to share this loot.

    71.   Corrupt Sonia Gandhi and her Congress party was in

charge of India from 2004 to 2014. After Fugitive, criminal

Rajasekhara reddy died in a helicopter crash the protection to

Defendant jagan reddy is gone results in intense CBI

investigation got arrested by Sonia Gandhi got upset for not

sharing this corrupt money by the defendant.

    72.   Defendant Jagan reddy while in prison to get bail paid

Rs.43,000 crores some of the looted money to Sonia Gandhi’s

sister and in return the Beneficiary is Robert Vadra the Son in

Law of Sonia Gandhi. After payment of this huge bribe defendant

got released from jail in September, 2013.

    73.   Most of the illegal foreign bank holdings are in US

dollars and other currencies. To maintain these offshore bank

accounts are illegal and paid bribes to various individuals,

authorities, Banking officials in various countries, paid bribes

to US citizens to act as intermediaries. Like in the case US -

13 CR 515. USA vs. Dimitry Firtash. YS Rajasekhar reddy is a



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fugitive and accused in the case one of the beneficiaries is

defendant Jagan reddy.

    74.   Jagan reddy is also one of the accused in a case in

Ras Al Kaimahea of UAE in fraud, cheating, corruption and Jagan

reddy is one of the defendants as of today the case is pending.

In this case defendant jagan reddy paid bribes to stop the

arrest warrants.

    75.   Defendant Jagan reddy crimes and violation of laws of

India the Prevention of Corruption Act, The Foreign Exchange

Management Act, The Money Laundering Act, The Companies Act, The

Reserve Bank of India Act, The Income Tax Act.

    76.   CBI filled close to 17 cases in the above-mentioned

violations and arrested him.

    77.   Y.S. Jagan Mohan Reddy. The modus operand, as alleged

    “public. properties, licenses, allotting/granting various

projects, SEZs, mining leases; ports, real estate permissions.

and other benefits to the persons of their choices violating

established norms and procedures in the Government with a clear

understanding of quid-pro-quo.” The beneficiaries, in turn, have

given bribes to Sri Y.S. Jagan Mohan Reddy under the guise of

purchasing shares in different companies floated by him at

huge and unsubstantiated premiums.

    78.   The role Of Sri Y.S. Jagan Mohan Reddy in the process

was to exercise influence· with his father and other public

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servants and to see that the benefits were conferred on ·. the

chosen persons and in the process received illegal

gratifications amounting to thousands of Crores of rupees.

    79.   Since May 2004, Sri Y.S. Jagan Mohan Reddy started

floating number of companies including M/s. Jagati Publications

Pvt. Ltd, etc. Such companies, it is alleged· were floated. with

the sole objective of laundering the Ill-gotten wealth obtained

by misusing the office of his father and the blessings of Sonia

Gandhi.

    80.   Defendant jagan reddy floated many shell suite case

companies like this quid pro quo the bribes money floated like

water in “Billions of rupees in India and Dollars all around the

world in violation of Foreign Corrupt practices of America.”



    81.   Defendants Modi’s team and Rastriya Swayam Sevak

operatives are the ones involved in the EVM machines tampering

of India’s elections met secretly with Sunil Aurora and Lavasa

to hijack Indian Elections from 2018 to 2019 are very critical

to grab power illegally.

    82.   Defendants Modi, ECI officials Aurora, Lavasa, Rajit

Kumar, Dwivedi as election commissioners and RSS operatives knew

well it is violation of Indian constitution and Election laws to

do EVM machines tampering and hijacking Indian democracy for

both personal benefit and to BJP party.

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     83.   Defendant Modi’s cronies and other RSS operatives’

motives are to win elections through EVM machines tampering and

place criminal politicians in high offices to loot India

particularly to benefit “Modi’s cronies like defendants Gowtham

Adani and ultimately the beneficiary id “Narendra Modi and his

Crime syndicate.”

     84.   Plaintiff studied, researched and observed the entire

mechanism of “EVM machines fraud and hijacking Indian elections

by Modi’s RSS operatives and placing criminals like Jagan reddy

in high offices.

     85.   Plaintiff communicated with defendants “Modi, Aurora,

Lavasa, Rajit Kumar and Dwivedi both through e-mails, Phone

conversations, through Twitter and faxes to their respective

offices.

     86.   Plaintiff blew the Whistle on the Defendants

corruption, Fraud, looting of India and blatant violations of

Constitution of not only India but US and the laws of other

countries all over the world. Plaintiff went on TV channels gave

live Interviews and gave interviews to various newspapers on

Multiple occasions on these crimes of all the defendants in this

case from 2018 to the present.

     87.   Defendant jagan reddy got elected in the elections of

23rd May, 2019 and became the chief minister of Andhra Pradesh



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with the direct efforts of Modi’s criminal syndicate by EVM

machines tampering and Modi became the Prime Minister of India.

    88.     Defendant Jagan reddy’s corruption foundations are

“Christian charities deposit the money in various countries of

Jagan reddy’s Benamies bank accounts and Jagan reddy generates

equaling money through corruption in AP state to convert Hindus

to Christians through bribing.” Defendant Jagan reddy created a

safe heaven of offshore bank accounts without a trace. The more

the” Hindus are converted to Christians more money deposited in

these offshore Bank accounts.” Defendant Jagan reddy created a

parallel Government through “Quid Pro Quo.” This is a major

financial scam and corruption the world has ever seen.

    89.     Modi committed more crimes, financial scams by looting

India’s wealth and routed the corruption money to America

through a scheme called “Liberalized Remittance scheme (LRS).”

    90.     Modi with the help of powerful officials and

Politicians made “America is a safe heaven for the “looted and

corruption money from India.” So far Modi’s criminal syndicate

sent to USA roughly more than $250 billion dollars in less than

10 years.

    91.     Modi’s criminal syndicate through hawala also sent

billions of dollars to USA in less than 10 years.




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    92.   Basically, Modi’s corruption money in USA running a

parallel economy by paying bribes to the Local politicians to a

very higher up and making America a corrupt nation.

    93.   Modi’s criminal syndicate members corruption money

created for the “Down fall of Bob McDonnell, then Governor of

Virginia.”

    94.   Modi’s criminal syndicate literally destroying the

fabric of democracy in America let alone India.

    95.   Modi’s criminal syndicate through corruption didn’t

prevail American defense systems to have a fair market to supply

the Needs of Indian Air force. Rafael fighter Jets by Dassault

aviation systems paid bribes to Modi’s syndicate and Lockheed

Martin lost the bid. Lockheed Martin means America lost Billions

of dollars in revenue due to corruption of Modi’s criminal

syndicate.

    96.   Modi’s slogan in today’s India “you pay to play” as

the most corrupt nation in the world but impacting the global

economies of America and other nations from England to

Singapore.

    97.   Plaintiff brought the designs of the capital

“Amaravati of AP state in June, 2014 to develop in Public

Private Partnership.”

    98.   Modi came and did the foundation stone in 2015.



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    99.     Modi’s criminal syndicate put into action one of the

Jon Doe – 1 after receiving bribes from Modi’s filled cases in

Green Tribunals and started bad propaganda in a systematic

organized propaganda to hurt the Capital Amravati to move

forward after invested enormous amounts of money in Millions of

Dollars and Hundreds of Thousands of dollars personally.”

    100. John Doe-I and his brother had similar corrupt

practices in 2009 by selling political party to Congress party

under Sonia Gandhi for thousands of Crores through Rajasekhara

reddy as Brokered the deal.

    101. This uneducated John Doe-I in 2019 to hijack the AP

elections received thousands of crores from defendant Jagan

reddy through a brokered deal by Modi’s criminal syndicate. The

monies were paid into the offshore accounts in “Russia and

Singapore on his wife’s and his mother-in-Law.”

    102. Uneducated John Doe-I played a key role in Harming

Amaravati project despite lack of knowledge in Futuristic

cities, economy, Democracy, human values and Governance.

    103. Plaintiff’s office shut down in September, 2020 after

Jagan reddy took office in June, 2019. Jagan reddy directly shut

down the “Amaravati Project.” Plaintiff’s IT office eSolvers and

Dharma Health Corporation are dependent on the “Amaravati

project.”



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    104. “Amaravati is plaintiff’s Brain child as Futuristic

City Templates were given to the AP state Government.”

    105. Once Amaravati Capital is shut down by Modi’s and

Jagan reddy’s criminal syndicate caused irrevocable harm

happened to Plaintiff’s business from these corrupt activities.

    106. Defendant Klaus Schwab of World Economic forum have

security screenings, background checks before inviting or

partnering with the organization.

    107.   Defendant Klaus Schwab gave access to World Economic

Forum in contact with Global leaders and entrepreneurs to

Defendant Jagan reddy despite have criminal, corrupt, released

on bail with evil personality to invest his dirty laundered

money all over the world.

    108. Defendant Klaus Schwab gave access to defendant Jagan

reddy after money changed hands in total disregard to the values

and founding principals of World Economic Forum causing harm to

World Economy and democratic institutions.

    109. Defendant Gowtham Adani as part of Modi’s criminal

syndicate have multiple companies and Chairman of Adani Group

and holding company of Modi’s dirty corrupt money acts as Modi’s

benami.

    110. Defendant Adani and Modi in official capacity to

blackmail the blue-chip companies, Politicians, Government

officials looted most of the Airports, Shipping ports, Highways,

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Prime real estate, Energy companies, Mines and other

manufacturing industries. Adani forcibly acquires these big

companies for pennies to a dollar.

    111. Modi’s and Jagan reddy’s criminal syndicates created a

reign of terror on Media publishing if anyone publishing the

crimes, corruption, destruction, failures by passing various

Government orders. Innocent people, Media people were subject to

prosecution and placed in jails. Simply a fascist rule is

running from 2014 to today and got worse since May,2019.



    112. In the RICO case statement having very elaborative

details of Financials, Itemized details of the looting by

“Modi’s and Jagan reddy’s Criminal syndicate.”


                             COUNT II
                   STATUTORY BUSINESS CONSPIRACY



    113. Plaintiff repeats and realleges the allegations

contained in paragraphs 1 through 112, inclusive, as though

fully set forth herein.

    114. Upon information and belief, the defendants, by virtue

of the conduct described herein, procured the participation,

cooperation, agreement, or other assistance of one or more

persons to enter into combination, association, agreement,

and/or mutual understanding for the purpose of willfully and

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maliciously injuring plaintiff in their reputation, trade

business, or profession.

     115. Defendant Modi promised and pledged in April, 2014

going to build a great Capital for Andhra People. After Modi

became the Prime Minister in May, 2014 Plaintiff personally

spent money and gave the Futuristic city Amaravati designs given

to AP Government on 21st June, 2014. Modi personally promised

going to fund the project for “Amaravati the capital for Andhra

Pradesh state.” Defendant Modi personally came laid the

foundation stone on 22nd October, 2015 for Amaravati.

     116. After plaintiff gave the “designs of futuristic city

templates to AP government, the 29,000 Farmers sacrificed 34,000

acres of Land to the Amaravati Capital as an important

development and hope for the state of Andhra. This is a historic

phenomenon of Farmers sacrifice to help the AP state.

     117. Defendant Modi gave $80 million out of $20 billion

dollars as initial seed money and refused to give a penny with

an intention to harm the project.

     118. Then Modi’s criminal syndicate in 2016 met with

Defendants Jagan reddy, John Doe-I to start the harm to

Amaravati project. Both defendants Jagan reddy and John Doe-I

are uneducated with poor ethics and no scruples swung into

action to destroy the project by fabricating false cases in the


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courts, publishing nonsense book on Amaravati.         Defendant Jagan

reddy to harm the project started violence in the Villages of

Amaravati to stall the project.

    119. Defendant Jagan reddy met with other defendants Vijay

Sai reddy, Sajjala Ramakrishna reddy and his criminal followers

gave instructions to resort to violence and destruction on daily

basis to stop the progression of the Capital Amaravati.

    120. Defendants Jagan reddy’s, Modi’s and John Doe-I’s

criminal syndicates caused enormous harm to the US citizens like

me investments in that “Amaravati region are in Billions of

Dollars.”

    121. Plaintiff moved to India in 2014 and living in

Amaravati region lost Income and investment in Millions of

Dollars.

    122. These defendants Modi’s, Jagan reddy’s and John

    Doe-I’s criminal enterprises caused enormous harm to AP

    state and investors like Plaintiff. The harm is

    irreversible.

    123. Plaintiff’s other business entities “eSolvers, Inc and

Dharma Health Corporation (Dharma Health Care services) offices

permanently shut down in September, 2020 due to rampant

corruption of Defendants Modi and Jagan reddy.




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    124. Plaintiff personally pleaded and sent faxes, Tweets,

phone calls and emails to Modi and Jagan reddy regarding the

harm to US investments and harm to the lives of the public and

results are futile with no communication.

    125. Plaintiff runs free health care clinics and virtual

care during COVID-19 Pandemic and helped thousands of patients.

    126. Defendant Jagan reddy as his government in power

“instead of helping sick and dying patients instructed his

officials it is OK for 10 Lakhs (Million people) to die.

    127. Plaintiff contacted Modi through his Prime Minister’s

office personally and warned him the corruption, destruction,

EVM machines tampering, suppression of Press, looting India’s

wealth including banks reserves, transferring billions of

dollars of government assets to the other defendants Adani in

turn benefits Modi’ criminal enterprises.

    128. Due to Defendant’s Modi’s criminal enterprise actions

killed 5 million Innocent and poor Indians in just 2021 alone

despite warnings from Plaintiff in writing.

    129. Instead of Saving Indians lives by Modi’s criminal

syndicate “building walls on highways and on roads to hide the

poor not to be visible during Trump’s visit in February, 2020 to

India.” This is the glaring example why Modi’s criminal




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syndicate expedited in the deaths of 5 million poor Indians in

2021.

    130. Criminal syndicate of jagan reddy deprived the poor by

shutting down raw materials from 2019 to today provide the work

needed to laborers, poor construction employees to survive and

industries were shut down and terrorized to leave the AP state.

    This created a hunger cries the AP state has never seen

    since “artificial Bengal famine created in 1930’s during

    British rule with hundreds of deaths.

    131. Under Modi’s criminal syndicate support artificial

hunger in the poor, laborers, industrial workers were

artificially created by Jagan reddy’s criminal syndicate to

convert from Hinduism to Christianity. The only way the poor,

laborers, industrial workers to get rations to survive if they

convert to Christianity. This results in mass exodus to

religious conversions to Christianity by Modi’s and jagan

reddy’s criminal syndicate. John Doe-I’s criminal syndicate

received huge bribes in crores of rupees and monthly payments

deployed the Paytm (notorious false propaganda social teams)

played their support role in concurrence with Modi’s and Jagan

reddy’s criminal syndicates.

    132. This massive conversions into Christianity in numbers

presented to the Christian charities to deposit in millions of


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dollars into defendant Jagan reddy’s coffers. This is a major

“Quid pro Quo” crime in the human history. This loot is split

and shared with Modi’s criminal syndicate as investments into

Defendant Adani’s companies.

    133. All these three Modi’s, Jagan reddy’s, and John Doe-I

criminal syndicates collective reign of terror caused the

destruction and progression of the Amaravati the futuristic

capital of AP state and results in huge financial losses to US

citizens like Plaintiff and many others US citizens. This is a

will full, gross negligence and acts of crime to make the

investors, Citizens of America, farmers and other honorable

citizens lost in Billions and Billions of dollars and

unfathomable scale of destruction by these Modi’s, Jagan reddy’s

and John Doe-1 Criminal syndicates in modern history of human

civilization.

    134. First Modi’s criminal syndicate (Sunil Aurora, Lavasa,

Dwivedi, Rajit Kumar and RSS operatives) stopped the funding to

the capital Amaravati and in turn paid the bribes to uneducated

John Doe-I to incite opposition, agitation, false propaganda

despite through his criminal syndicate Paytm batch and turn

around used the Modi’s RRS operatives to tamper the EVM machines

to bring the corrupt politicians into power the John Doe-II in

the state of Telangana and AP state in 2018(by conducting early


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elections) and 2019 respectively to cause the destruction of the

Capital “Amaravati the futuristic city.

    135. With all these destructive Modi’s, Jagan reddy’s, John

doe-I’s and John Doe-II’s criminal enterprises played a role in

ultimate destruction of not only the capital Amaravati, AP state

and American investors including the Plaintiff. Plaintiff

informed about these criminal activities, corruption and

destruction details to the American embassies in Hyderabad, New

Delhi and Chennai through Twitter, emails and personally in

meetings with embassy officials in 2018 and 2019.

    136. Modi’s Prime ministers’ office were contacted through

their website, Twitter, TV channels, Newspapers and press

conferences in person From New Delhi to Amaravati through zoom

calls, telephonic interviews and in social media about these

enormous harm to American investments in 2017, 2018, 2019, 2020,

2021 and 2022. Modi’s criminal syndicate encouraged Jagan

reddy’s, John Doe-I and John Doe-II criminal syndicates to

increase more attacks on American investors to leave India to

grab their assets for pennies on dollars in both states of AP

state and Telangana.

    137. Due to these four criminal syndicate’s enormous harm

results in close to 200 precious farmers deaths who sacrificed

their lands for betterment of the society and India’s progress.


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This kind of self-destruction and killing their own citizens by

these criminal syndicates is a shame to human civilization in

modern history.

    138. John Doe-III a powerful American politician after

received the bribes and favors backed up all these crimes by

Modi’s criminal syndicate’s activities, looting India’s wealth

and bringing the corruption laden dirty money to America without

any objections. US state department are very well known the

plight of American citizens by these four Criminal syndicates

results in enormous harm to American commerce and economy.



                            COUNT III
    RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT (RICO)
  UNITED STATES CODE TITLE 18 SECTIONS § 1962(a), (b), (c), (d)

    139. Plaintiff Dr. Vuyyuru is a “person” within the meaning

of 18 U.S.C. § 1961(3).

    140. Modi’s and RSS operatives criminal syndicate is an

enterprise and the Modi’s criminal syndicate defendants also

constitute a group of individuals associated in fact as an

enterprise.

    141. Jagan reddy’s criminal syndicate is an enterprise and

the Jagan reddy’s criminal syndicate defendants also constitute

a group of individuals associated in fact as an enterprise. John

Doe-I criminal syndicate also constitute a group of individuals


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in fact as an enterprise. John Doe-II criminal syndicate also

constitute a group of individuals in fact as an enterprise.

    142. Modi’s office

    143. The Modi’s office staff with and aided and abetted the

Jagan reddy staff, defendants Vijay Sai reddy, Sajjala

Ramakrishna reddy and John Doe-II        in perpetrating at least two

acts of witness retaliation against Plaintiff and other US

citizens, including the harm and shutting down the offices in

Hyderabad and Amaravati, and the closure of Plaintiff’s

hospital, as well as to the assault on Plaintiff’s employees and

destruction of equipment to accomplish the shutdown of the

offices and Hospital, and thus became part of these enterprises.

    144. There was a common purpose for all of the acts of

retaliation against the plaintiff by the Modi and Aurora,

Lavasa, Rajit Kumar and Dwivedi of ECI commission of India

defendants, Jagan reddy and John Doe-II. The common purpose of

these acts of retaliation against a witness was to silence a

whistleblower who was exposing the EVM machines tampering fraud

and other elections misconduct and greatest harm to Indian

democracy by these defendants.

    145. Defendants Modi’s PM office staff, RSS operatives EVM

machines tampering and the ECI commissioners knew of the

Elections and constitutional violations for the other defendants


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Jagan reddy and John Doe II to grab the elections illegally was

reported to the federal authorities, Election commission, PM

office by the Plaintiff and their goal of retaliating against

Plaintiff and substantially assisted them in achieving said

objective by taking the acts constituting fraud on the Indian

elections described above.

    146. Defendants conspired in their goal of retaliating

against the Virginia Times and Bharata Desam for publishing

information, posting on social media exposing fraud and

misconduct.

    147. Furthermore, defendant Modi and RSS operatives knew at

relevant times during the course as Prime Minister and his

office was the subject of a Plaintiff’s newspaper investigation

and complaints to CBI and other entities like US state

department.

    148. While these ECI defendants, as well as the Jagan

reddy’s defendants (Vijay Sai reddy and Sajjala Ramakrishna

reddy), John Doe-I and John Doe-II defendants participated in

and are members of and part of the aforementioned enterprises,

and together represent in their coordinated acts of retaliation

a single super enterprise, they also have an existence separate

and distinct from the enterprise.




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    149. Defendants Modi, Jagan reddy, Vijay Sai reddy, Sajjala

Ramakrishna reddy, John Doe-I, John Doe-II and defendant John

Doe-III and associated staff engaged in illegal conduct

including, but not limited to

    a.    Elections fraud in EVM machines Tampering, rigging the

          Indian elections by bringing in Illegal Bangladeshi

          voters, bribing election officers.

    b.    Malpractice related to failure to follow standard

          protocol and procedures resulting in total failure of

          elections and democracy in India.

    150. Some of the specific types of corruption and thuggery

that defendants Modi, RSS operatives and the other defendants,

Jagan reddy, John Doe-I, and John Doe-II engaged in include:

    c.    Fabrication of false claims on Amaravati Capital,

          illegal complaints, false propaganda by publishing

          spurious data, false propaganda by Paytm batches

          recruited on monthly salaries.

    d.    Performing solely to stop funding Amaravati and

          inciting violence in the capital city Amaravati for

          American investors and plaintiff to flee is benefit to

          defendants’ assets not to depreciate in value

          Hyderabad.




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    e.       Misrepresenting the facts and false allegations by

             defendants caused decrease in progress at Capital city

             Amaravati.

    f.       Falsifying allegations justify to commit fraud by

             Jagan reddy, Modi, John Doe-I and John Doe-II.

    g.       Accepting kickbacks to spread the lies on Amaravati by

             John Doe-I.



    151. From 2019 to even today, defendant Jagan reddy and his

staff and/advisors including Vijay Sai reddy, and Sajjala

Ramakrishna reddy and thousands of others with last name “reddy

advisors” engaged in the following specific acts constituting

fraud:

    h.       Formation of an advisors in collecting bribes in

             performing any duties, licenses, payment of bills,

             jobs only to one caste “reddys.” Government

             appointment in advisory boards more than 80% roughly

             thousands to one small caste consisting of 2.5% in 5

             crores population is outright fraud. These thousands

             of corrupt reddy caste brokers to collect bribes,

             cover up the crimes, pay bribes to investigative

             agencies, judges and manipulate the elections and

             every crime in the text book is happening since 2019

             till now. The local Andhra public synonym for “reddy

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          means criminal” this is the rampant merciless criminal

          system implemented by Jagan reddy.

    i.    The purpose of this enterprise was to have these reddy

          caste people appointed to various government agencies

          and every Government corporation to loot, collect

          bribes, cheat, deceive and harm including killings of

          Dalits, raping women, refused to pay genuine

          contractor bills, payments to hospitals provided the

          services to the public. These thousands of criminal

          appointees exclusively in this group in exchange for

          payments to perform any services (i.e., kickbacks) and

          ultimately to deposit these bribes and corruption

          money into the coffers of the defendant Jagan reddy.

    j.    That said defendants and individuals are engaged in

          such activity from 2019 to even as of today.

    152. From 2014 to 2022 even today, Plaintiff, upon

information and belief and based on direct knowledge, found that

Modi engaged in a pattern of Fraudulent activities including,

but not limited to:

    k.    Liberalized Remittance Scheme (LRS) to carry and take

          for each visit a total of $250,000 dollars per each

          member visiting United states 26th May, 2015 as soon as

          get elected created by Modi. The purpose is to send

          all the corruption money from his state Gujarat

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       siphoned to US to run a parallel Government in USA.

       This parallel Modi’s fraudulent Indian money created a

       parallel economy building motels, hotels, shopping

       malls, liquor stores, grocery stores, strip malls,

       bribes to US politicians to benefit exclusively

       Gujarati business men to wield unbelievable power in

       US government.

l.     Defendant Modi announced on 8th November 2016 the

       Demonetization of Rs 500 and Rs 1000 notes announced

       results in disaster to Indian economy. The purpose to

       stop the black money but Modi’s criminal syndicate

       have other plans by looting the unaccounted black

       money and sent through LRS scheme to America turning

       into White money with the help of big wigs in American

       political system with other “Quid pro Quo” agreements.

     m. Narendra Modi’s Indian Government got licenses with

       the “Pegasus cyber security systems of NSO belongs

       Israel’s cyber security warfare.

     n. Modi’s government acquired and given the cyber spying

       Pegasus & Chrysaor systems to the various Indian

       states intelligence access where Terrorism & Radical

       Naxalism is prevalent and one state that received

       these Pegasus & Chrysaor is Telangana in 2014.



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 o. “Pegasus of Modi’s & jagan reddy’s government spyware

    installed on devices running certain versions of iOS,

    Apple's mobile operating system, as well as some

    Android devices. Rather than being a specific exploit,

    Pegasus suite of exploited that uses many

    vulnerabilities in the system. Infection vectors

    include clicking links, the Photos app, the Apple

    Music app, and iMessage. Some of the exploits Pegasus

    uses are zero-click—that is, they can run without any

    interaction from the victim. Once installed, Pegasus

    has been reported to be able to run arbitrary code,

    extract contacts, call logs, messages, photos, web

    browsing history, settings, as well as gather

    information from apps including but not limited to

    communications apps.

 p. In 2020, Modi’s & Jagan Reddy’s Pegasus shifted

    towards zero-click exploits and network-based attacks

    and allowed to break into target phones without

    requiring user interaction and without leaving any

    detectable traces.

 q. In 2014 Jagan reddy criminal syndicate member TV

    Sashidar reddy in charge of “Telangana intelligence

    got access to these Pegasus & Chrysaor spyware to

    monitor the terrorists & Naxalites.”

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 r. TV Sashidar reddy in contact with criminal background

    Jagan reddy in 2014 disclosing the power of “most

    powerful spyware weapon Pegasus & Chrysaor systems.”

 s. In 2014 TV Sashidar reddy of Jagan reddy criminal

    syndicate with the consent of Narendra Modi’s

    political wing started tapping every opponent of Jagan

    reddy deceptively in both Telugu states and news

    channels to family members.

 t. Plaintiff came to know about an internal memo from “CM

    camp office of KCR” about TV Sashidar Reddy’s illegal

    criminal activities in Hyderabad in tapping many Jagan

    reddy’s opponents and major newspaper channels cell

    phones including some of the judges.

 u. TV Sashidar reddy caused enormous harm to all the

    “Democratic Institutions of India including the judges

    of high courts & Supreme Court to benefit Jagan reddy

    facing various criminal charges by CBI and released on

    bail.”

 v. By 2017 Modi’s RSS clandestine political wing joined

    hands with Jagan Reddy’s criminal enterprise members

    in this deadly spyware “Pegasus & Chrysaor” in both

    Telugu states from “Political leaders and their family

    members, funding supporters, Publishers of Newspapers

    & TV channels, judges of High court & Supreme Court

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    text messages, WhatsApp phone calls, stealing the

    emails and private sharing data from the iPhones to

    android phones.

 w. Modi’s RSS clandestine political wing & Jagan reddy

    criminal enterprise joint “Pegasus & Chrysaor”

    literally destroyed no privacy to most of their

    political opponents in India.

 x. The Pegasus & Chrysaor of Modi’s RSS clandestine

    political wing & Jagan reddy’s criminal enterprise

    brought down the most important democracy foundation

    “Judiciary through blackmail.” One such Jagan reddy’s

    criminal syndicate victim results in death of Judge

    Prabhakar Rao in Hyderabad.

 y. “Ranjan Gogoi’s cellphone got tampered and scandal

    broke out his private life because of Pegasus &

    Chrysaor spyware.” Gogoi was forced to rule the most

    important ruling “Rosetta stone of corruption in

    Indian democracy the EVM machines tampering with the

    special programming to hijack Indian Elections in 2019

    for Modi’s government & Jagan reddy’s landslide

    victory.”

 z. As soon as 23rd May, 2019 Hijacked Indian elections

    are Hijacked by Modi’s RSS clandestine political wing

    the real hunting started on every “Opposition party in

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      India make them to thimble and pieces through this

      Pegasus & Chrysaor spyware.”

  aa.      Through Pegasus & Chrysaor spyware cut the

      funding routes & their contacts not only India but

      also US citizens like Plaintiff subject to these phone

      tapings.

  bb.      The height of the criminal game “Narendra Modi’s

      RSS clandestine political wing fully informed jagan

      reddy‘s criminal empire and the danger of Vivekanand

      reddy happened to be uncle of Jagan reddy. This

      results Jagan reddy criminal syndicate hacked

      Vivekanand reddy to bloody death with informed consent

      from Modi’s RSS clandestine wing.

  cc.      “Modi the mastermind of “RSS clandestine

      political wing committed various crimes using of

      Pegasus & Chrysaor spyware in bringing down the

      democratic institutions of India through blackmail,

      fraud, deceit, corruption, terror, EVM machines

      tampering, looting India’s wealth and safeguarding

      criminal enterprise of Jagan reddy, John Doe-I and

      John Doe-II.”

dd.   Jagan reddy’s criminal syndicate member “TV Sashidhar

      reddy eves dropping on High court judges of AP state

      ruling on the corruption and hearings of Jagan reddy

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      and Modi’s announcement of Three Capitals instead of

      Amaravati as Futuristic capital of AP state.” The

      judges’ conversations are leaked by the “Modi’s, Jagan

      reddy’s, John Doe-I’s Paytm batches on social media to

      bring down the Judiciary system. This results in

      enormous harm by weakening democratic institutions

      like judiciary results in more looting by Modi’s,

      Jagan reddy’s, John Doe-I’s and John Doe-II’s criminal

      syndicates.

ee.    Modi’s RSS operatives, criminal syndicate members

      like Kishan reddy, Jagan reddy’s criminal syndicate

      members, Paytm batch, John doe-I criminal syndicate

      and Paytm batches, John Doe-II criminal syndicate

      threatening to the life of Plaintiff with retaliation

      for plaintiff reporting the crimes on news channels,

      Nes Papers and social media results in reported to the

      State dept of United states and to the white house in

      writing.

ff.   On 24th September, 2021 Plaintiff protested in front of

      White House and try to do citizen arrest of Narendra

      Modi’s for the crimes against humanity during the

      visit at White House. Plaintiff got permission from

      Park services and informed the secret service at White



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          House but unfortunately Modi escaped from White House

          under security to the airport.

    153. Plaintiff observed a pattern of gross negligence by

Modi’s and Jagan reddy’s criminal syndicate in the care of

COVID-19 Patients.

    154. The funding to take care of COVID-19 patients were

abused and stollen instead of buying testing equipment,

adulterated the bleaching powder with white powder in spreading

infections, don’t have Respirators, no ICU beds and no

medications to save the lives of the patients on top of refused

to buy and give Vaccinations to dying Indians and AP state

citizens. The Modi’s conspired with Jagan reddy in looting these

life saving funds is an extraordinary crime. Plaintiff

investigated these crimes and presented most of the national and

local media. The acts of patient misconduct illustrated above

are in addition to many such acts all of which constitute a

pattern of conduct.

    155. For the purpose of executing and/or attempting to

execute the above described schemes to defraud or obtain money

by means of false pretenses, representations or promises, these

defendants and individuals and this money sent to US through

various routes also in violation of 18 U.S.C. § 1341 and § 1343,

placed in post offices and/or in authorized repositories matter

and things to be sent or delivered by the Postal Service, caused

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matter and things to be delivered by commercial interstate

carrier, and received matter and things from the Postal Service

or commercial interstate carriers, transmitted and received by

wire, matter and things which include but are not limited to

agreements and correspondence.




                            PREDICATE ACTS


    156. Section 1961(1) and (5) of RICO provides that

“racketeering activity” includes any act indictable under 18

U.S.C. §§ 1512 and 1513 (retaliating against a federal witness).

As set forth in this complaint, all defendants have and continue

to engage in conduct violating each of these laws to effectuate

their scheme.

    157. In addition, in order to make their scheme effective,

each of the defendants sought to and did aid and abet the

others’ in violating the above laws within the meaning of 18

U.S.C. §2.   As a result, their conduct is indictable under 18

U.S.C. §§ 1512 and 1513.

    158. The numerous acts of retaliation specified above each

constitute a predicate RICO violation of 18 U.S.C. §§ 1512 and

1513 and are incorporated herein.

                            RICO VIOLATIONS
                               § 1962(a)


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    159. Section 1962(a) of RICO provides that "it shall be

unlawful for any person who has received any income derived,

directly or indirectly, from a pattern of racketeering activity

... in which such person has participated as a principal within

the meaning of § 2, title 18, United States Code, to use or

invest, directly or indirectly, any part of such income, or the

proceeds of such income, in acquisition of any interest in, or

the establishment or operation of, any enterprise which is

engaged in, or the activities of which affect interstate or

foreign commerce."

    160. As set forth above, Defendants receive income from

their participation as principals, aiders and abettors in an

extensive pattern of racketeering activity involving Foreign

corrupt Practices Act, laundering dirty corrupt money and they

perpetuate that fraud by witness retaliation as described

herein.

    161. That income is reinvested in the enterprises for

personal profit and to finance future racketeering activity, and

the future operation of Modi’s, Jagan reddy’s, John Doe-I’s and

John Doe-II’s criminal syndicate and the business of defendant’s

members and family.

                            RICO VIOLATIONS
                               § 1962(b)



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    162. Section 1962(b) of RICO provides that it “shall be

unlawful for any person through a pattern of racketeering

activity or through collection of an unlawful debt to acquire or

maintain, directly or indirectly, any interest in or control of

any enterprise which is engaged in, or the activities of which

affect, interstate or foreign commerce.”

    127. Defendants violated section 1962(b) by using witness

retaliation to gain and maintain control of their enterprises

which otherwise would have been exposed and shutdown as a result

of Plaintiff’s whistleblowing and publishing the crimes, fraud,

looting Government fund and sending these dirty monies to US.

    128. Through the activities described above, defendants

have affected interstate of foreign commerce.

                            RICO VIOLATIONS
                               § 1962(c)

    129. Section 1962(c) of RICO provides that it "shall be

unlawful for any person employed by or associated with any

enterprise engaged in, or the activities of which affect,

interstate or foreign commerce, to conduct or participate,

directly or indirectly, in the conduct of such enterprise's

affairs through a pattern of racketeering activity ... "

    130. Through the patterns of racketeering activities

outlined above, the Defendants have also conducted and

participated in the affairs of the enterprise including by


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retaliating against Dr. Vuyyuru as a means of perpetuating their

fraud schemes by preventing exposure.


                            RICO VIOLATIONS
                               § 1962(d)

    131. Section 1962(d) of RICO makes it unlawful "for any

person to conspire to violate any of the provisions of

subsection (a), (b) or (c), of this section.”

    132. Defendants conspired to secure money via Foreign

corrupt Practices and dirty laundering money through LRS scheme

and fraud by retaliating against the plaintiff and depriving him

shutting down his hospitals, IT companies and Health care

outsource companies, investments in the development of Amaravati

through the fraudulent scheme described above violates

    18 U.S.C. § 1962(d), 18 U.S.C. § 1961(1) and (5).

    133. Each of the Defendants agreed to participate, directly

or indirectly, in the conduct of the affairs of the enterprise

through a pattern of racketeering activity comprised of numerous

acts of mail fraud and wire fraud and retaliation against a

federal witness, and each defendant so participated in violation

of 18 U.S.C. § 1962 (b), (c) and (d).

    134. Each Defendant further agreed to use or invest,

directly or indirectly, part of the income derived from their

predicate acts of retaliation and mail fraud and wire fraud,

which constituted a pattern of racketeering activity, in the

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establishment, operation and expansion of the enterprise, and

has done so in violation of 18 U.S.C. § 1962(a) and (d, 18

U.S.C. § 1961(1) and (5).



                                 INJURY

     135. Plaintiff has been injured due to the loss of his

business incurred in connection with the defendants’ violations

of United States law and cause by said violations.

     136. Plaintiff’s Dharma Health Corporation, eSolvers,

Virginia Times, Bharata Desam, Amaravati the capital city and

has been injured due to the loss of business incurred in

connection with the defendants’ violations of United States law

and caused by said violations.

                              JURY DEMAND

     Plaintiffs assert their rights under the Seventh Amendment to

the U.S. Constitution and demands, in accordance with Federal Rules

of Civil Procedure 38, a trial by jury of the claims asserted in

this Complaint.

     WHEREFORE, plaintiffs, respectfully pray that the Court:

     a.   Enter judgment in their favor and against defendant for

     all legal and equitable relief available

     b.   For damages resulting from defendant’s violations of

United States law.

     c.   Prejudgment and post judgment interest.

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    d.    Order defendant to pay punitive damages in an amount to

be determined at trial;

    e.    Order   defendant    to   pay   his   attorney’s   fees,     costs,

expenses, disbursements, and expert witness fees and

    f.    Grant such other and further relief as the Court deems

appropriate.



Respectfully submitted,




____________________________
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443 889 0101




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                        CERTIFICATE OF SERVICE


    I HEREBY CERTIFY, that on this 24th day of May 2022 onwards

a copy of the Plaintiff's RICO complaint going to be serviced on

the defendants and sent via express mail and through email to

each of the defendants.



________________________
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